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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    ANTHONY S. TWITTY,                        )
                                              )        Civil Action No. 20 – 142J
                          Plaintiff,          )
                                              )
                     v.                       )        Magistrate Judge Lisa Pupo Lenihan
                                              )
    MARGRETT BARNS, C.R.N.P., et al.          )
                                              )
                          Defendants.         )
                                              )

                                               ORDER

         IT IS HEREBY ORDERED that Plaintiff’s inmate account statement (ECF No. 7-1,

pp.3-8) that is attached to his filing titled “Return of Documents Submitted to the Court by

Prison Inmate Accounts Where the Court Returned Such Documents Causing an Administrative

Breakdown,” (ECF No. 7), is hereby construed as a renewed Motion for Leave to Proceed in

forma pauperis.

         IT IS FURTHER ORDERED that Plaintiff’s Motion for Leave to Proceed in forma

pauperis is GRANTED to the extent that the case may proceed without the prepayment of the

entire filing fee. While Plaintiff is still assessed the total $350.00 filing fee, he shall pay $36.06

as an initial partial filing fee as provided by 28 U.S.C. § 1915(b)(1)(A). 1

         IT IS FURTHER ORDERED that the agency having custody of Plaintiff shall forward,

within THIRTY (30) DAYS from the date of this Order, the initial partial filing fee to the Clerk

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 Plaintiff had $1,081.82 worth of deposits into his inmate account for the six-month period
ending July 22, 2020. The average monthly deposit was $180.30, and twenty percent of that is
$36.06. See 28 U.S.C. § 1915(b)(1)(A) (explaining the calculation of the initial partial filing
fee).
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of Court. A check from a penal institution, a cashier’s check, or a money order should be made

payable to “Clerk, U.S. District Court for the Western District of Pennsylvania” and transmitted

to: Clerk of Court, U.S. District Court, Western District of Pennsylvania, 700 Grant Street, Suite

3110, Pittsburgh, PA, 15219. Personal checks will not be accepted. The following information

shall either be included on the face of the check from the penal institution, cashier’s check, or

money order or attached thereto: (i) the full name of the prisoner; (ii) the prisoner’s inmate

number; and (iii) the case number for this action. Checks or money orders which do not have

this information will be returned to the penal institution.

          IT IS FURTHER ORDERED that after the payment of the initial partial filing fee,

each time a deposit is made to Plaintiff’s account, the agency having custody of Plaintiff shall set

aside the deposit immediately before any disbursement is made by Plaintiff, and when the

amount in Plaintiff’s account exceeds $10.00, the agency shall forward payments to this Court

equaling 20% of the preceding month’s income credited to his account until the filing fee for this

case is paid in full. The prisoner information described in the previous paragraph shall either be

included on the face of the check from the penal institution, cashier’s check, or money order or

attached thereto. The agency shall forward payments to the appropriate courts simultaneously if

there are multiple orders.

        IT IS FURTHER ORDERED that this Order is binding on the superintendent/warden

of any jail or correctional facility where Plaintiff is incarcerated until the filing fee is paid in full

in accordance with the provisions of 28 U.S.C. § 1915(b)(1). However, Plaintiff is warned that

he is ultimately responsible for payment of the filing fee if his custodian lapses in his/her duty to

make payments on his behalf. For this reason, if Plaintiff is transferred to another jail or

correctional institution, Plaintiff should ensure that the new institution is informed about this
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lawsuit and the required monthly payments as set out herein. Plaintiff is advised to retain a copy

of this Order for this purpose.

       IT IS FURTHER ORDERED that the Clerk of Court shall mail a copy of this Order to

the Inmate Account Officer at Plaintiff’s place of confinement.

       IT IS FURTHER ORDERED that the Clerk of Court shall enclose with this Order an

authorization form which Plaintiff shall complete and return to the Court within TEN (10)

DAYS of entry of this Order. On this form, Plaintiff shall sign either the section that authorizes

monthly payments from his inmate account or the section that moves to withdraw this action

without payment of any portion of the filing fee.

       IT IS FURTHER ORDERED that this action may be dismissed for failure to prosecute

if Plaintiff fails to return the authorization form within TEN (10) DAYS from the date of this

Order or if Plaintiff authorizes payments and the initial partial filing fee is not received within

THIRTY (30) DAYS from the date of this Order.

       AND IT IS FURTHER ORDERED that the Clerk of Court reopen this case and docket

the Complaint and any attachments thereto.

       DONE AND ORDERED this 18th day of September, 2020.


                                                               /s/ Lisa Pupo Lenihan
                                                               Lisa Pupo Lenihan
                                                               United States Magistrate Judge




 Cc:   Anthony S. Twitty
       FM-4476
       SCI Houtzdale
       P.O. Box 1000
       Houtzdale, PA 16698-1000
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Inmate Account Officer
SCI Houtzdale




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